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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION


 Dallas Mudd,
                     Plaintiff,
       v.
                                                 Civil Action No. 4:24-cv-01055-O
 National Labor Relations Board,
 Lauren McFerran, in her official
 capacity as the Chairman of the
 National Labor Relations Board, and
 Marvin Kaplan, Gwynne Wilcox, and
 David Prouty, in their official capacities
 as Board Members of the National
 Labor Relations Board,
                    Defendants.


 DALLAS MUDD’S MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT OF HIS MOTION FOR A PRELIMINARY INJUNCTION AND TO
CONSOLIDATE A HEARING ON THE PRELIMINARY INJUNCTION WITH
                  A TRIAL ON THE MERITS

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                                  INTRODUCTION

   Dallas Mudd is an employee of Aunt Bertha (doing business as FindHelp), who

seeks to rid his workplace of an unwanted union, the Office & Professional Employees

International Union (OPEIU). The National Labor Relations Act (NLRA) gives Mudd

a right to file a decertification petition with the National Labor Relations Board

(NLRB or Board) for it to conduct a secret ballot election at his workplace. Mudd filed

such a petition with NLRB Region 16. Region 16 dismissed his decertification petition

because the Region and OPEIU are pursuing unfair labor practice claims against

FindHelp. Region 16 told Mudd he can seek reinstatement of his decertification

petition after the conclusion of its unfair labor practice cases against FindHelp. Mudd

disagrees with Region 16’s decision and will file an appeal to the five member Board

on or before November 6, 2024.

   Mudd is being compelled to appear before an unconstitutionally structured Board

to vindicate his statutory rights. The Board’s structure violates Article II of the

Constitution because its members are not politically accountable to the President.

Under the NLRA Section 3(a), Board Members may be removed by the President only

for “neglect of duty or malfeasance in office” and for no other reason. 29 U.S.C. §

153(a). This removal restriction unlawfully interferes with the President’s authority

to take “[c]are that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

   1. Mudd seeks a preliminary injunction to temporarily halt the Board from

deciding his appeal. This injunction would halt the ongoing and irreparable harm he

is suffering by being required to enforce his statutory rights before an




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unconstitutionally structured agency. As discussed below, Mudd can establish that

he will “likely . . . succeed on the merits, that he is likely to suffer irreparable harm

in the absence of preliminary relief, that the balance of equities tips in his favor, and

that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20 (2008). In fact, his employer has already secured an injunction against

some of the same unfair labor practices cases blocking his decertification petition.

Aunt Bertha v. NLRB, No. 24-cv-798, 2024 WL 4202383 (N.D. Tex. Sept. 16, 2024)

(enjoining unfair labor practice trial because NLRB ALJs are unlawfully shielded

from Presidential control).

   First, Mudd is likely to succeed on the merits. “[T]he President’s removal power is

the rule, not the exception.” Seila Law LLC v. CFPB, 591 U.S. 197, 228 (2020). In

Humphrey’s Executor, the Supreme Court recognized a narrow exception for

multimember agencies, balanced along partisan lines, that do not wield “substantial

executive power.” Id. That exception does not apply to Board Members because the

NLRB is not required to be balanced along partisan lines and it wields substantial

executive power. The removal protections the Act affords to Board Members are

inconsistent with the President’s authority under Article II.

   Second, Mudd is suffering irreparable harm because he is being forced to vindicate

his statutory rights before an unconstitutionally structured agency. Being forced to

appear before such an agency is a “here-and-now” injury. Axon Enter., Inc. v. FTC,

598 U.S. 175, 191 (2023). Unlike other harms that can be corrected by federal courts

after an illegitimate proceeding ends, this harm “has already happened [and] cannot




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be undone,” id., because Mudd cannot obtain judicial review of the Board’s ultimate

decision in his case. Employees like Mudd have no right to appeal NLRB decisions in

election cases to the federal courts. See Leedom v. Kyne, 358 U.S. 184, 190 (1958).

Consequently, to preserve his right to declaratory relief, Mudd needs a preliminary

injunction before the NLRB decides his election case. In other words, Mudd has a

constitutional right to have Board Members who serve at the pleasure of the

President decide his appeal and determine his statutory rights.

   Finally, the balance of equities and public policy favor enjoining the NLRB’s

proceedings. As to the equities, the NLRB will suffer no harm from a pause in the

proceedings—the NLRB can decide Mudd’s appeal after its constitutional infirmities

have been remedied. There is no public interest in allowing an unconstitutional

government proceeding to continue. Rather, the public interest supports granting

Mudd “relief sufficient to ensure that the [labor law] standards to which [Mudd is]

subject will be enforced only by a constitutional agency accountable to the Executive.”

Free Enterprise Fund v. PCAOB, 561 U.S. 477, 513 (2010). The Court should enjoin

the underlying NLRB proceedings until it awards Mudd declaratory relief, or it

should award Mudd declaratory relief after consolidating the trial on the merits with

the preliminary injunction hearing it schedules.

   2. Mudd also moves the Court to consolidate its hearing on the preliminary

injunction motion with a trial on the merits. Federal Rule 65(a)(2) provides that

“[b]efore or after beginning the hearing on a motion for a preliminary injunction, the

court may advance the trial on the merits and consolidate it with the hearing.” Fed.




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R. Civ. P. 65(a)(2). This action is appropriate when, as here, there are no issues of

material fact, but only issues of law. See Eli Lilly & Co. v. Generix Drug Sales, Inc.,

460 F.2d 1096, 1107 (5th Cir. 1972) (“If after such a hearing the district judge should

conclude that this is a case wherein no material fact issues remain and there is indeed

nothing left to be tried, he should not hesitate to afford [] final relief.”). The main

question for the Court is whether Humphrey’s Executor and Consumers’ Research v.

CPSC, 91 F.4th 342, 349–50 (5th Cir. 2024) bar Mudd’s legal challenge to NLRA

Section 3(a) removal protections. These are legal questions, and the Court can skip

past preliminary relief and award Mudd a declaration that Section 3(a) violates the

Article II now.

                                   BACKGROUND

I. The Board exercises substantial executive power.

   The NLRB is a federal agency that governs almost all private sector labor

relations in America. 29 U.S.C. §§ 151–69. The NLRB consists of no more than five

Board Members who are appointed by the President to staggered five-year terms,

with the advice and consent of the Senate. See 29 U.S.C. § 153(a). Board Members

may be removed only by the President “upon notice and hearing” for “neglect of duty

or malfeasance in office, but for no other cause.” Id.

   The General Counsel is appointed to a four-year term by the President with the

advice and consent of the Senate. See 29 U.S.C. § 153(d). The General Counsel

operates independently of the Board and is responsible for prosecuting unfair labor

practices complaints. Id.



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   The Board exercises substantial executive authority through its hiring,

policymaking (through both adjudications and rulemaking), and prosecutorial

powers. Among other matters, it decides which employers are subject to the NLRA,

which employees are protected by the Act, how and with whom employees can seek

or end union representation, and whether employees can use their employer’s

property for such purposes.

   The Board has the power to appoint an “executive secretary, and such attorneys,

examiners, and regional directors, and such other employees as it may . . . find

necessary for the proper performance of its duties.” 29 U.S.C. § 154. Through this

authority, the Board appoints Regional Directors who oversee the NLRB’s twenty-six

regional offices. The Board also uses this power to hire and supervise ALJs.

   The Board has the executive power to “prevent any person from engaging in any

unfair labor practice . . . affecting commerce,” which entails authority to conduct

administrative adjudications and exact substantial remedies from employers and

unions. 29 U.S.C. § 160(a). In the past few years, the Board has conducted

adjudications and issued decisions that have vastly altered labor law. See, e.g., Thryv,

Inc., 372 NLRB No. 22 (Dec. 13, 2022) (Board can award expansive monetary

compensation, legally indistinguishable from compensatory damages); McLaren

Macomb, 372 NLRB No. 58 (Feb. 21, 2023) (non-disparagement and confidentiality

provisions in settlement agreements violate the Act); Cemex Construction Materials

Pacific, LLC, 372 NLRB No. 130 (Aug. 25, 2023) (employer legally required to




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recognize a union or file for a representation election based solely on a union’s

recognition demand).

   The Board’s executive power also extends to representation proceedings. 29 U.S.C.

§ 159. The Board conducts representation elections to determine whether a union

represents employees in a workplace. Once the Board has certified a union as the

exclusive representative of a bargaining unit, that union has sole power to negotiate

the covered employees’ wages, hours, and other conditions of employment. NLRB

certification grants a union power “comparable to those possessed by a legislative

body both to create and restrict the rights of those whom it represents.” Steele v.

Louisville & Nashville R.R., 323 U.S. 192, 202 (1944). The Board’s power over

representation proceedings is almost plenary because its decisions in representation

cases are not directly reviewable in federal court, except in narrow circumstances.

See Leedom, 358 U.S. at 190.

   The Board also has rulemaking power. 29 U.S.C. § 156. While the Board

historically exercises its power through adjudications, it also issues substantive

regulations. See, e.g., Standards for Determining Joint Employer Status, 88 Fed. Reg.

73946 (Oct. 27, 2023); Representation—Case Procedures: Election Bars; Proof of

Majority Support in Construction-Industry Collective-Bargaining Relationships, 85

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89 Fed. Reg. 62952 (Aug. 1, 2024) (repeal of prior rule).




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   Finally, the Board possesses prosecutorial power. The Board may authorize the

General Counsel to seek preliminary injunctions in federal court, 29 U.S.C. § 160(j),

and has the power to issue subpoenas in both election and unfair labor practice cases.

29 U.S.C. § 161.

II. Factual Background

   In April 2023, OPEIU won an election at Aunt Bertha, which does business as

FindHelp (FindHelp). (Compl. ¶ 25–26, ECF Doc. 1, p. 5). Dallas Mudd started

working as an employee at FindHelp in January 2024. (Compl. ¶ 27, ECF Doc. 1, p.

5). As such, Mudd never had the opportunity to vote on whether he wanted to be

represented by the OPEIU. Mudd believes that OPEIU representation is undesirable

because, among other reasons, his employer already provides competitive wages and

benefits. (Compl. ¶ 28, ECF Doc. 1, p. 6). After observing union actions that he felt

undermined the company, Mudd set out to decertify OPEIU. (Compl. ¶ 29–31, ECF

Doc. 1, p. 6). After more than 30% of Mudd’s coworkers signed a showing of interest

in support of decertification, Mudd filed a decertification petition with the NLRB and

it is docketed as Aunt Bertha, a Public Benefit Corporation d/b/a FindHelp, Case

No. 16-RD-351569 (Sept. 27, 2024). (Compl. ¶ 32–33, ECF Doc. 1, p. 6–7).

   On October 2, 2024, NLRB Region 16’s Director Timothy Watson (Region 16)

issued a show cause order asking the parties to submit their positions on whether

Mudd’s petition should be dismissed, subject to reinstatement, because the Region

and OPEIU are pursuing unfair labor practice allegations against FindHelp in Case

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16-CA-318102, and 16-CA-318170. (Compl. ¶ 36, ECF Doc. 1, p. 7); (Ex. A, B). On

October 9, 2024, Region 16 dismissed Mudd’s decertification petition, subject to

reinstatement, based on these unfair labor practice allegations. (Compl. ¶ 40, ECF

Doc. 1, p. 8); (Ex. A, B).

   Mudd will appeal the Region’s decision by filing a “Request for Review” to the five-

member Board, which is due on or before November 6, 2024. (Compl. ¶ 43, ECF Doc.

1, p. 9) (Declaration of Aaron Solem, ¶¶ 7–8). After he files his Request for Review,

Mudd’s election case will be before the Board. The problem, however, is the Board

Members deciding Mudd’s case are not politically unaccountable to the President.

                                      ARGUMENT

   Preliminary injunctive relief is proper when a movant establishes: (1) he is likely

to succeed on the merits; (2) he is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in his favor, and (4) granting the

injunction is in the public interest. Winter, 555 U.S. at 20. The balance of equities

and the public interest factors merge when the government is the opposing party.

Nken v. Holder, 556 U.S. 418, 435 (2009). Mudd satisfies all four elements.

I. Mudd is likely to succeed on the merits of his constitutional claims.

   A. There are only two exceptions to the President’s removal power.

   Under our Constitution, the ‘executive Power’—all of it—is ‘vested in a President,’

who must ‘take Care that the Laws be faithfully executed.’” Seila Law, 591 U.S. at

203 (quoting U.S. Const. art. II, §§ 1, 3). Since it “would be impossible for one man to

perform” all the duties of the Executive Branch, the Constitution “assumes” the



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President will carry out his obligations through “lesser executive officers.” Id. at 213

(cleaned up). Because “[t]hese lesser officers must remain accountable to the

President, whose authority they wield,” the President’s executive power necessarily

extends to “‘appointing, overseeing, and controlling those who execute the laws.’” Id.

(quoting 1 Annals of Cong. 463 (1789)).

   The power to control executive officials “includes the ability to remove” them. Id.

Otherwise, the President would have no way to ensure that executive officials are

taking care the laws are faithfully executed. In that case, the President “could not be

held fully accountable for discharging his own responsibilities; the buck would stop

somewhere else.” Id. at 204 (citation omitted).

   The “general rule” is that the President has “unrestricted removal power” over his

subordinates. Id. at 215. In the face of that customary rule of presidential power, the

Supreme Court has recognized only two narrow exceptions. First, in Humphrey’s

Executor the Supreme Court upheld for-cause removal restrictions for principal

officers in partisan-balanced multimember agencies “that do not wield substantial

executive power.” Seila Law, 591 U.S. at 218. Second, in Morrison v. Olson, 487 U.S.

654 (1988), the Court held that Congress could restrict removal of inferior officers

who have “limited duties and no policymaking or administrative authority.” Seila

Law, 591 U.S. at 218. The Morrison exception is not at issue here.

   Humphrey’s Executor and Morrison “represent . . . the outermost constitutional

limits of permissible congressional restrictions on the President’s removal power.”

Seila Law, 591 U.S. at 218. The Supreme Court has rejected every attempt to go past




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those limits. See Collins v. Yellen, 594 U.S. 220, 251 (2021); Seila Law, 591 U.S. at

204; Free Enterprise Fund, 561 U.S. at 483–84. This is because “the President’s

removal power is the rule, not the exception” and the Supreme Court has not

welcomed “invitation[s]” for new exceptions. Seila Law, 591 U.S. at 228.

   B. The NLRB does not qualify for the Humphrey’s Executor exception.

   Humphrey’s Executor involved the FTC, a commission of five members appointed

by the President with the Senate’s advice and consent. Humphrey’s Executor v. United

States, 295 U.S. 602, 619–20 (1935). By statute, no more than three of the

commissioners could be members of the same political party. See id. Congress created

the commission as a “body of experts who shall gain experience by length of service;

a body which shall be independent of executive authority, except in its selection, and

free to exercise its judgment without the leave or hindrance of any other official or

any department of the government.” Id. at 625–26. Accordingly, the President could

remove commissioners only “for inefficiency, neglect of duty, or malfeasance in office.”

Id. at 619 (citation omitted).

   The Supreme Court upheld these removal protections. The Supreme Court

reasoned that the FTC “is an administrative body created by Congress to carry into

effect legislative policies embodied in the statute . . . and to perform other specified

duties as a legislative or as a judicial aid.” Id. at 628. The Humphrey’s Executor Court

“viewed the FTC (as it existed in 1935) as exercising ‘no part of the executive power,’”

and having only a limited authority to act “as a legislative or as a judicial aid”—by

making reports to Congress, or recommendations to courts. Seila Law, 591 U.S. at




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215. And its holding reached no further than the demarcated “set of powers” that

served as the “basis” for the Court’s decision. Id. at 219 n.4.

   1. Humphrey’s Executor does not apply to the Board because its members exercise

substantial executive power through their adjudicative, policymaking, and

prosecutorial authority. The NLRB is not a toothless advisory board issuing reports

to Congress, like FTC Commissioners in 1935. Rather, the Board enforces the NLRA

against private parties in many ways.

   First, the Board has robust “enforcement authority,” which includes the power to

order “daunting” monetary relief against private parties, “a quintessentially

executive power not considered in Humphrey’s Executor.” Seila Law, 591 U.S. at 219.

This monetary relief includes awarding damages “to compensate [unlawfully

terminated] employees for all direct or foreseeable pecuniary harms that these

employees suffer as a result of” an unlawful termination. Thryv, 372 NLRB No. 22,

slip op. at 1. This law-enforcement function of fashioning and ordering remedies is an

example of executive power. Seila Law, 591 U.S. at 219.

   Second, the Board “possesses the authority to promulgate binding rules fleshing

out [a] federal statute[], including a broad prohibition on unfair [labor] practices in a

major segment of the U.S. economy,” affecting nearly every private sector business

and employee. Seila Law, 591 U.S. at 218; see 29 U.S.C. § 156. While the Board

traditionally preferred adjudication to rulemaking, it has increasingly flexed its

regulatory muscle. For example, the Board recently promulgated rules on

establishing a joint employment relationship and limiting employee rights to




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elections in the representation process. See supra, p. 6. Because “interpreting a law

enacted by Congress to implement the legislative mandate is the very essence of

execution of the law,” an agency “empowered to issue a ‘regulation or order’ . . . clearly

exercises executive power.” Collins, 594 U.S. at 254 (cleaned up).

   Third, the Board has the power to conduct adjudications, find facts, and “issue

final decisions awarding legal and equitable relief.” See Seila Law, 591 U.S. at 219.

29 U.S.C. § 160. Like rulemaking, conducting adjudications “are exercises of—indeed,

under our constitutional structure they must be exercises of—the executive Power.”

Seila Law, 591 U.S. at 216 n.2 (cleaned up); see City of Arlington v. FCC, 569 U.S.

290, 304 n.4 (2013). As part of this power, the Board certifies unions as employees’

exclusive bargaining representatives. The NLRB’s certification of a union grants it

powers “comparable to those possessed by a legislative body both to create and

restrict the rights of those whom it represents.” Steele, 323 U.S. at 202; Emporium

Capwell Co. v. W. Addition Cmty. Org., 420 U.S. 50, 63 (1975) (recognizing national

labor policy “extinguishes the individual employee’s power to order his own relations

with his employer”).

   Finally, unlike the FTC in 1935, the Board possesses power to seek injunctions in

federal court. Section 10(j) of the NLRA gives Board Members (and only Board

Members) the “power, upon issuance of [an administrative] complaint . . . charging

that any person has engaged in or is engaging in an unfair labor practice, to petition

[a] United States district court . . . for appropriate temporary relief or restraining

order.” 29 U.S.C. § 160(j). This “power under § 10(j) is prosecutorial in nature” and




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thus a quintessential form of executive power. Overstreet v. El Paso Disposal, L.P.,

625 F.3d 844, 852 (5th Cir. 2010). The power to seek injunctive relief was not at issue

in Humphrey’s Executor because the FTC did not possess such power until 1938.

   In short, the Board wields substantial executive power from top to bottom. Unlike

the 1935 FTC in Humphrey’s Executor, the Board cannot be described as “a mere

legislative or judicial aid” that “exercise[s] ‘no part of the executive power.’” Seila

Law, 591 U.S. at 215, 218. The Board is not creating reports for Congress or serving

as a chancery to the federal judiciary. Rather, the Board can “issue final regulations,

oversee adjudications . . . and determine what penalties to impose on private

parties”—all “without meaningful supervision.” Id. at 225. The Board’s powers fall

outside the Humphrey’s Executor exception and thus Board Members must be fully

accountable to the President.

   Another district court in the Fifth Circuit has recently granted a preliminary

injunction against NLRB proceedings on grounds that removal protections for NLRB

members violate the separation of powers. See SpaceX v. NLRB, No. 6:24-cv-203, 2024

WL 3512082 (W.D. Tex. July 23, 2024). The Court should do the same here.

   2. The Board will likely argue that Consumers’ Research v. CPSC, 91 F.4th 342,

349–50 (5th Cir. 2024) requires a different result. That case considered a challenge

to removal restrictions for members of the Consumer Product Safety Commission

(CPSC). In Consumers’ Research, the Fifth Circuit found the Humphrey’s Executor

exception “permitted Congress to give for-cause removal protections to a

multimember body of experts, balanced along partisan lines, that performed




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legislative and judicial functions and was said not to exercise any executive power.”

Id. at 352. Despite finding the CPSC exercised substantial executive power, the court

concluded this fact alone did not “remove[] the Commission from the Humphrey’s

exception.” Id. at 354. The Fifth Circuit found that Humphrey’s Executor protected

“any traditional independent agency headed by a multimember board.” Id. at 352

(cleaned up).

    Consumers’ Research is distinguishable or, in the alternative, wrongly decided.1

The NLRB, unlike the CPSC, has two additional differences that further remove it

from the Humphrey’s Executor exception. Ignoring either of these distinctions would

impermissibly expand Humphrey’s Executor.

    First, unlike the FTC in 1935, the Board need not be balanced along partisan lines.

In Humphrey’s Executor, the Supreme Court explained that the Federal Trade

Commission Act “creates a commission of five members to be appointed by the

President by and with the advice and consent of the Senate, and section 1 provides:

‘Not more than three of the commissioners shall be members of the same political

party.’” Humphrey’s Executor, 295 U.S. at 619–20. The Supreme Court relied on this

provision to justify upholding the removal restrictions: “The commission is to be

nonpartisan; and it must, from the very nature of its duties, act with entire




1 If the Court finds Consumers’ Research indistinguishable, Mudd concedes that
would necessitate denying the injunction because there would be no likelihood of
success on the merits. In that case, as described more fully below, Mudd would ask
the Court grant judgment to the Board to allow Mudd to immediately appeal. See
Consumers’ Research v. CPSC, 98 F.4th 646, 650–57 (5th Cir. 2024) (Oldham, J.,
dissenting from denial of rehearing en banc).

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impartiality.” Id. at 624. The NLRA does not have a similar requirement of non-

partisanship. The President may appoint board members regardless of their party

affiliation and could create an entirely partisan Board if he so chooses.

   Thus, a sitting President could appoint Board Members from his own party to

hamper the next President. This is because Board Members have fixed terms of

service that extend beyond the President’s four-year term. 29 U.S.C. § 153(a). And

these five-year terms are staggered, so the President ordinarily will not have an

opportunity to replace all five Board Members within a four-year term. Id. Faced with

a completely partisan and oppositional Board, it would take a new President at least

three years to secure a Board majority. This is why the President must be able to

remove Board members “who come from a competing political party who is dead set

against [the President’s] agenda.” Collins, 594 U.S. at 256 (cleaned up).

   Second, Board Members enjoy broader removal protections under Section 3(a)

than those insulating the FTC Commissioners in 1935. The latter were removable

“for inefficiency, neglect of duty, or malfeasance in office,” Humphrey’s Executor, 295

U.S. at 620 (quoting 15 U.S.C. § 41). Board Members, by contrast, are removable only

“for neglect of duty or malfeasance in office,” but not for other causes like inefficiency.

29 U.S.C. § 153(a). Allowing Congress to prohibit the President from removing

principal officers for inefficiency would be an unjustified expansion of Humphrey’s

Executor. See Collins, 594 U.S. at 256 (“The President must be able to remove not just

officers who disobey his commands but also those he finds ‘negligent and

inefficient[.]’” (quoting Myers v. United States, 272 U.S. 52, 135 (1926)). See also




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SpaceX, v. NLRB, No. 6:24-cv-203, 2024 WL 3512082, slip op. at *4 (“allowing

Congress to eliminate the President’s ability to remove principal officers for

inefficiency would be an unjustified expansion of Humphrey’s Executor.”).

   The Supreme Court in Seila Law summarized the holding of Humphrey’s Executor

as a narrow exception to the President’s removal power, permitting “Congress to give

for-cause removal protections to a multimember body of experts, balanced along

partisan lines, that performed legislative and judicial functions and was said not to

exercise any executive power.” Seila Law, 591 U.S. at 216. The Act’s removal

restrictions do not fall within this exception. The NLRB is not required by statute to

be a non-partisan agency. It does not perform legislative and judicial functions as

understood in Humphrey’s Executor, but exercises substantial executive power. Mudd

has a likelihood of success on his claim that Board Members’ removal protections

violate Article II because the NLRB is distinguishable from both the 1935 FTC and

the CPSC.

   C. Collins v. Yellen does not apply.

   The Board will likely argue Mudd must prove that the Board’s future decision in

his election case would be different absent removal protections. The Board will likely

claim that Collins v. Yellen supports this proposition. It does not. Mudd is harmed

because his rights under the NLRA are being adjudicated by an unconstitutionally

structured Board, irrespective of how those Board members eventually decide his

case. Collins only applies to requests to void an agency’s substantive decision—




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something Mudd does not seek. Cochran v. SEC, 20 F.4th 194, 210 n.16. (5th Cir.

2021).

   In Collins, Fannie Mae and Freddie Mac shareholders challenged actions by the

Federal Housing Finance Agency (FHFA) and Department of the Treasury that led

to the transfer of “enormous amounts of wealth to [the] Treasury.” Collins, 594 U.S.

at 227, 234–36, 257. The shareholders argued FHFA’s structure was unconstitutional

due to its director’s protection from at-will removal. Id. at 235. The shareholders

sought to retroactively void the agency’s actions, including an order requiring the

Treasury to return the payments to Fannie Mae and Freddie Mac. Id. at 235–36.

Unwinding those past payments would have required the disgorgement of billions of

dollars. Id.

   After oral argument, the FHFA and Treasury agreed to amend the stock purchase

agreements eliminating “the variable dividend formula that had caused the

shareholders’ injury.” Id. at 244. This mooted any claim for declaratory relief. Id. The

Supreme Court explained “the only remaining remedial question” in Collins

“concern[ed] retrospective relief,” specifically whether the past payments had to be

undone. Id. at 257. The Court declined to grant this relief automatically, stating it

depended on whether the removal restriction “altered” the government’s behavior. Id.

at 260.

   This case does not involve any of the tricky remedial issues seen in Collins. Mudd

is not seeking to void any Board decision. Unlike the challengers in Collins, Mudd

only seeks a preliminary injunction to ensure he can receive a forward-looking




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declaration. This type of relief was blessed by the Supreme Court in Free Enterprise

Fund, 561 U.S. at 513 (holding plaintiffs challenging removal restrictions are

“entitled to declaratory relief sufficient to ensure that the [administrative]

requirements and . . . standards to which they are subject will be enforced only by a

constitutional agency accountable to the Executive.”).

   An en banc Fifth Circuit has already explained, when a removal claim is

“meritorious,” a plaintiff cannot be “forc[ed] to litigate before an [official] who is

unconstitutionally insulated from presidential control.” Cochran, 20 F.4th at 212–13.

Cochran also explained that Collins is inapplicable when a litigant does not “seek to

‘void’ the acts of [the unlawfully protected] official” which Mudd is not seeking to do.

Id. at 210 n.16. Mudd does not seek to void any decision of the Board—he simply

seeks a preliminary injunction to protect his ability to obtain declaratory relief so that

the decision of the Board in his case comes from a constitutionally structured Board.

See Free Enterprise Fund, 561 U.S. at 513.

   This is why five different district court judges in this circuit have recently found

plaintiffs need not show the government altered its behavior when seeking

declaratory relief or a temporary halt in an ongoing proceeding. See SpaceX v. NLRB,

No. 24-cv-203, 2024 WL 3512082, slip op. at *6 (W.D. Tex. July 23, 2024) (“Collins at

most stands for the proposition that when a properly appointed officer with

unconstitutional removal protections acts, appropriate retrospective relief does not

include voiding said action.”); Aunt Bertha v. NLRB, No. 24-cv-798, 2024 WL

4202383, slip op. at *2–3 (N.D. Tex. Sept. 16, 2024); Energy Transfer, LP v. NLRB,




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No. 24-cv-198, 2024 WL 3571494, slip op. at *4 (S.D. Tex. July 29, 2024); Consumers’

Research v. CPSC, 592 F. Supp. 3d 568, 586–87 (E.D. Tex. 2022) (“the Fifth Circuit

held in Cochran v. SEC that Collins does not apply to plaintiffs seeking prospective

relief.”), rev’d on other grounds, 91 F.4th 342; ABM Industry Groups, LLC v. DOL,

No. 4:24-cv-03353, 2024 WL 4642962, slip op. at *5 (S.D. Tex. Oct. 30, 2024) (“What

Cochran and Axon make clear is that being subject to a proceeding before an

improperly insulated ALJ is a harm separate from any substantive action taken by

the ALJ . . . a plaintiff seeking to halt a proceeding before an unconstitutionally

insulated ALJ need not show that the removal restrictions caused harm other than

the proceeding itself.”).2

II. Mudd will suffer irreparable harm because he is forced to participate in
    an unconstitutional administrative process to vindicate his statutory
    rights.

   Deprivation of a constitutional right “unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). The Supreme Court has recognized

“being subjected to unconstitutional agency authority . . . is a here-and-now injury”

because it is a “proceeding, led by an illegitimate decisionmaker” that “violate[s] the

separation of powers.” Axon, 598 U.S. at 191.




2 This Court ruled otherwise in Burgess v. FDIC, 639 F. Supp.3d 732 (N.D. Tex. 2022).

But the Fifth Circuit’s en banc decision in Cochran found Collins only applies to
claims that seek to “void” agency action. 20 F.4th at 210 n.16. Mudd does not seek to
void any NLRB decision. Nor did the Court consider its decision also conflicts with
Free Enterprise Fund, which held a plaintiff challenging an unlawful removal
protection is “entitled to declaratory relief” to ensure they only appear before “a
constitutional agency accountable to the Executive.” Free Enterprise Fund, 561 U.S.
at 513.

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   Mudd is suffering an injury because the NLRA violates his constitutional right to

appear before politically accountable executive officials. The injury is irreparable

because the Court cannot remedy that harm after the agency proceedings end. As the

Supreme Court recognized in Axon, after an unconstitutional proceeding is over, the

right to this relief is “effectively lost” because this injury is “impossible to remedy

once the proceeding is over, which is when appellate review kicks in.” Id. at 191

(cleaned up); see Alpine Sec. Corp. v. FINRA, No. 23-5129, 2023 WL 4703307, slip op.

at *3 (D.C. Cir. July 5, 2023) (Walker, J., concurring) (finding irreparable harm

absent an injunction because “the resolution of claims by an unconstitutionally

structured adjudicator is a ‘here-and-now injury’ that cannot later be remedied.”).

   Here the Court could be robbed of its ability to provide Mudd with declaratory

relief unless it temporarily enjoins the Board from adjudicating Mudd’s appeal or

issues a final judgment and declaration before the Board acts. The Board has an

incentive to quickly issue a ruling in the underlying administrative proceeding before

this Court can issue a judgment—which would allow the Board to argue this case is

moot. See SpaceX, 2024 WL 3512082, slip op. at *6 (W.D. Tex. July 23, 2024) (“If the

Court refused to enjoin that proceeding, then it could potentially finish before this

Court could finally adjudicate the merits of SpaceX’s claims. This would irreparably

injure SpaceX . . . and vitiate the Court’s ability to render meaningful merits relief.”)

(cleaned up); see also Busler v. NLRB, Case No. 4:24-cv-00072-O, ECF Doc. 28.3 And



3 Even if the Board decided Mudd’s appeal prior to the conclusion of this case it would

not moot Mudd’s federal lawsuit because it is capable of repetition yet evading review.



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appeals in Board representation cases are typically resolved within four to eight

months, too short a time frame to adjudicate this case without an injunction. 4 A

preliminary injunction is necessary now “to preserve the court’s power to render a

meaningful decision.” Select Milk Producers, Inc. v. Johanns, 400 F.3d 939, 954 (D.C.

Cir. 2005) (Henderson, J., dissenting) (quoting 11A CHARLES ALAN WRIGHT & ARTHUR

R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2947 (2d ed. 1992)).

III. The balance of equities and public interest favor granting a preliminary
     injunction.

   The balance of equities and public interest favor granting a preliminary

injunction. When the government is defendant, these two factors merge. Nken, 556

U.S. at 435. Granting the preliminary injunction is both equitable and serves the

public interest because the government suffers no cognizable harm from stopping the

perpetuation of unlawful agency action. BST Holdings, LLC v. OSHA, 17 F.4th 604,

618 (5th Cir. 2021). “The public interest favors preventing the deprivation of

individual rights and abuses of government power.” Alpine Sec. Corp. v. FINRA, No.

23-5129, 2023 WL 4703307, slip op. at *3 (D.C. Cir. July 5, 2023) (Walker, J.,

concurring); see also Daniels Health Scis., LLC v. Vascular Health Scis., LLC, 710

F.3d 579, 585 (5th Cir. 2013) (the “public is served when the law is followed.”).




Mudd has a right to seek reinstatement of the petition and he will exercise after the
conclusion of the Board’s case against FindHelp. Compl. ¶ 42, 44. This right to
reinstatement makes Mudd’s case capable of repetition and the short timeframe of
Board representation cases makes difficult to fully litigate this challenge prior to the
conclusion of the administrative proceeding.
4 For example, in Busler, also pending before this Court, the Board decided Busler’s

appeal around 7 months after it was filed. (Solem Declaration ¶ 8).

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   Mudd has an overriding interest in ensuring his constitutional rights are

protected. He is willing to see his own Board appeal slightly delayed to ensure his

constitutional rights are protected. The Board has no similar interest—the only

government action that is temporarily halted is the Board considering Mudd’s own

appeal. The Board is not harmed by a temporary pause. As a result, the balance of

equities and public interest factors favor issuance of a preliminary injunction.

IV. The Court may also proceed directly to the merits and award final
    judgment.

   1. Federal Rule of Civil Procedure 65(a)(2) provides that “[b]efore or after

beginning the hearing on a motion for a preliminary injunction, the court may

advance the trial on the merits and consolidate it with the hearing.” Fed. R. Civ. P.

65(a)(2). But if “the eventual outcome on the merits is plain at the preliminary

injunction stage, the judge should, after due notice to the parties, merge the stages

and enter a final judgment.” Curtis 1000, Inc. v. Suess, 24 F.3d 941, 945 (7th Cir.

1994). To advance to a trial on the merits the Court must give the parties “clear and

unambiguous notice” of its intent so the parties can fully present their cases. Univ. of

Texas v. Camenisch, 451 U.S. 390, 395 (1981).

   Here, final judgment is appropriate because there are likely no disputed material

issues of fact, only disputed questions of law. Eli Lilly & Co., 460 F.2d at 1107. As to

the facts, there is no question that Mudd is appearing before the Board. Nor is there

any dispute about the Board’s powers or its removal protections—they are defined by

the NLRA—only their legal implications.




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   As to the legal questions, all point towards awarding judgment now, for either

Mudd or the Board. The primary legal questions are whether: (1) Seila Law’s

substantial executive power test controls or if Consumers’ Research’s maximalist

understand of Humphrey’s Executor bars Mudd’s claim; (2) whether Collins requires

Mudd to show the government altered its behavior to secure a declaration; or (3)

whether Mudd is “entitled to declaratory relief sufficient to ensure that the [labor

law] standards to which [he is] subject will be enforced only by a constitutional agency

accountable to the Executive.” Free Enterprise Fund, 561 U.S. at 487. In awarding or

denying the injunction, the Court will have already answered the first two questions.

And the third question is derivative of whether Collins applies.

   If the Court finds that Consumer’s Research (and its understanding of Humphrey’s

Executor) or Collins bars Mudd’s claim, it can either dismiss the Complaint or award

the Board judgment, which would allow Mudd to immediately appeal.5 Similarly, if

the Court finds Collins does not apply to declaratory relief and Consumer’s Research

does not apply to the Board, it can award judgment to Mudd. See SpaceX, No. 6:24-

cv-203, 2024 WL 3512082, slip op. at *4 (“allowing Congress to eliminate the

President’s ability to remove principal officers for inefficiency would be an unjustified

expansion of Humphrey’s Executor”). Doing so would also save the parties

considerable resources from having to brief the same issues more than once and the

Court from having to decide duplicative motions.




5 While Mudd believes Humphrey’s Executor is distinguishable, he also reserves the

right to ask the Supreme Court to overrule it, if necessary.

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   2. As to the relief, Mudd only seeks a declaration that NLRA Section 3(a) is

unconstitutional. This is exactly what was sought and awarded by the Supreme Court

in Free Enterprise Fund. There, an accounting firm sought a declaratory judgment

that Congress had “contravened the separation of powers by conferring wide-ranging

executive power” on members of the Public Company Accounting Oversight Board

(PCAOB) “without subjecting them to Presidential control.” Free Enterprise Fund,

561 U.S. at 487. The Supreme Court found this “separation-of-powers violation”

subjected the firm to a form of unconstitutional governance, inflicting a “‘here-and-

now’ injury that can be remedied by a court” through a declaratory judgment. Id. at

513. The accounting firm was “entitled to declaratory relief sufficient to ensure that

the reporting requirements and auditing standards to which they are subject will be

enforced only by a constitutional agency accountable to the Executive.” Id.

   The Constitution guarantees a right to have laws administered by accountable

officials, and depriving persons of that right causes ongoing and irreparable injury.

The declaratory judgment ordered in Free Enterprise Fund vindicated the accounting

firm’s right to have the PCAOB’s regulations and decisions governing the accounting

industry be issued by officials who answer to the President.

   Mudd seeks the same relief to address the same harm. Like the accounting firm

in Free Enterprise Fund, he is harmed by being required to pursue his appeal to

officials unaccountable to the President. Just as the firm’s right to operate an

accounting business was subject to the PCAOB’s regulations and decisions governing

the accounting industry, Mudd’s election petition, seeking vindication of his statutory




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right to oppose unionization in his workplace, is subject to the Board’s decision and

regulations. Declaratory relief cures that injury by ensuring his election petition and

appeal is considered only by officials who answer to the President. The Court can

award that relief after a hearing by declaring NLRA Section 3(a) unconstitutional

and making the Board Members who decide Mudd’s appeal answerable to the

President.

                                   CONCLUSION

   The Court should grant Mudd’s preliminary injunction motion or proceed directly

to the merits after a hearing and award final judgment by declaring NLRA Section

3(a) unconstitutional.


                                               /s/ Aaron Solem
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                         CERTIFICATE OF CONFERENCE

   I conducted a conference with Dawn Goldstein, Paul Thomas, Kevin Flanagan,

David Boehm, and Kent Coupe of the NLRB by email on November 1 and 4, 2024,

regarding the relief sought herein. No agreement could be reached because the NLRB

opposes the injunction sought and opposes consolidating a hearing on the motion with

a trial on the merits.

                             /s/ Aaron Solem
                                 Aaron Solem


                           CERTIFICATE OF SERVICE

   I filed this memorandum with the Court via ECF. Defendants have not filed their

notice of appearance but have agreed to service by email. Today, November 4, 2024,

I emailed a copy of the memorandum in support of the motion and the motion to

NLRB counsel listed below:

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                             /s/ Aaron Solem
                                 Aaron Solem
